Case 2:O4-cr-20476-SHI\/| Document 122 Filed 08/11/05 Page 1 of 2 Page|D 321

 

UNITED sTATES DISTRICT COURT `F"'ED BV'J'?,`”"” D'c`
FoR THE WE\SNI§SI}TI;IE§;TSIT)RBl/LI:STK<))NF TENNESSEE 05 AUG \ l m ", 23
UNITED STATES oF AMERICA, win iii ~“~J!EktPHS
Piaimiff,
vs. _ Cr. No. 04-20476-D
JOHN D. vAUGHN,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO
CON'I`INUE SENTENCING HEARING

 

For good cause shown, and Without objection by the government, the Court hereby GRANTS

defendant’s motion to continue the sentencing hearing currently set for Tuesday, August 30, 2005

at 1:30 p.m. until m ‘Se,g"ra'n‘oa( \°\ "SLOO§ mm

it is so 0RDERE1), this the § »“" day efAugust, 2005.

     

HONORABLE ERNI E B. DON D
UNITED STATES DISTRIC'I` JUDGE

Th!s document entered en the docket sheet in compliance ‘ /Q}
with Fte'|e 55 ar;<{/or 32(t)) FRCrP on " 435

 

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Honorable Bernice Donald
US DISTRICT COURT

